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                IN THE UNITED STATES DISTRICT COURT
                FOR THE MIDDLE DISTRICT OF FLORIDA
                      (JACKSONVILLE DIVISION)


Wendell Perez, individually and    )
as next friend of A.P., a minor    )
Maria Perez, individually and      )
as next friend of A.P, a minor,    )
                                   )
                     Plaintiffs    )         Case No. 3:22-cv-83
v.                                 )
David Broskie, individually,       )
and in his official capacity as    )         Jury Trial Demanded
Superintendent of Clay County      )
District Schools, John O’Brian,    )
individually, and in his official  )
capacity as Principal of Paterson  )
Elementary School,                 )
Courtney Schumacher, individually, )
and in her official capacity as    )
Assistant Principal of Paterson    )
Elementary School,                 )
Destiney Washington, individually )
and in her official capacity as    )
counselor at Paterson Elementary   )
School,                            )
                                   )
                     Defendants.   )

 VERIFIED COMPLAINT FOR INJUNCTIVE RELIEF, DECLARATORY
                JUDGMENT AND DAMAGES

      Plaintiffs, Wendell Perez, individually and as next friend of A.P., a minor,

Maria Perez, individually and as next friend of A.P, a minor, (“Plaintiffs”) by and

through counsel, file this civil action and respectfully request this Court to issue

injunctive relief, a declaratory judgment and award damages for violations of the
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United States Constitution, Florida Constitution, and Florida Statutes by Defendants,

David Broskie, John O’Brian, Courtney Schumacher and Destiney Washington.

      In support thereof, Plaintiffs state:

                                 INTRODUCTION

      1.     Plaintiffs bring this action to vindicate their fundamental rights as

enumerated in the United States and Florida constitutions and rights protected under

Florida Statutes. Defendants have violated Plaintiffs’ fundamental rights by, inter

alia, a) failing to notify Mr. and Mrs. Perez about their daughter A.P.’s mental health

issues as required under Florida law, b) secretly meeting with A.P. over the course

of several months to promote and affirm the idea that A.P. could be a boy named

“M” rather than addressing A.P.’s problems with self-confidence and bullying; c)

promising A.P. that her parents would not be informed about A.P. being treated at

school as a boy named “M,” d) breaching A.P.’s privacy by informing peers to refer

to A.P. as a boy named “M” without A.P.’s permission, leading to increased bullying

of A.P. e) continuing to breach A.P.’s privacy by promising to convince all of her

teachers to refer to her as a boy named “M” without A.P. making such a request,

causing A.P. increased distress; f) continuing to refuse to communicate with A.P.’s

parents regarding A.P.’s mental health issues and bullying occurring at school until

after A.P. attempted suicide twice while on school property, and g) blaming A.P.’s




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suicide attempt on Mr. and Mrs. Perez’s perceived lack of agreement with their

daughter’s gender confusion because of their Catholic Christian faith.

       2.      Defendants further violated Plaintiffs’ fundamental rights by

intentionally and recklessly withholding information from Mr. and Mrs. Perez

related to A.P.’s questions regarding gender identity issues based upon alleged

“confidentiality rights” on the part of A.P. that are contrary to law.

                           JURISDICTION AND VENUE

       3.      This action is filed pursuant to 42 U.S.C. § 1983 seeking redress of

injuries suffered by Plaintiffs from deprivation, under color of state law, of rights

secured by the First and Fourteenth amendments to the United States Constitution,

by Article I of the Florida Constitution and pursuant to laws of the United States and

the laws of Florida. Jurisdiction is proper in this Court pursuant to 28 U.S.C. §§ 1331

and 1343(a).

       4.      Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b) and other

applicable law because the events and omissions giving rise to the claims in this

action arose in Clay County, Florida, which is situated within the district and

divisional boundaries of the Middle District of Florida. Venue is also proper in this

Court because the Defendants reside or have their principal place of business in this

District.




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      5.     This Court is authorized to grant declaratory judgment under the

Declaratory Judgment Act, 28 U.S.C. §§ 2201-02, implemented through Federal

Rule of Civil Procedure 57, and to issue injunctive relief under Federal Rule of Civil

Procedure 65.

      6.     An actual controversy exists between the parties involving substantial

constitutional issues, in that Plaintiffs allege that Defendants’ policies, procedures,

directives and actions taken in accordance with them, as applied, violate the United

States and Florida constitutions and Florida Statutes and have infringed Plaintiffs’

rights, while Defendants will allege that their policies, procedures, directives, and

actions comport with the United States and Florida constitutions and Florida

Statutes.

      7.     This Court is authorized to grant Plaintiffs’ prayer for relief regarding

costs, including a reasonable attorney’s fee, under 42 U.S.C. § 1988.

                                     PARTIES

      8.     Plaintiffs Wendell and Maria Perez, and their daughter, A.P. are

residents of Clay County, Florida.

      9.     Plaintiffs’ daughter, A.P. is a student at Paterson Elementary School,

which is part of Clay County District Schools.

      10.    Defendant David Broskie is the Superintendent of Clay County District

Schools, having been elected by the citizens of Clay County pursuant to Article IX,


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§ 5 of the Florida Constitution. He is and was at all times relevant herein, acting

within the course and scope of his constitutional authority as Superintendent and his

duties under Fla. Stat. §§ 1001.49, 1001.51, and other applicable Florida law and

consistent with the customs, policies, and practices of Clay County District Schools.

      11.     As Superintendent, Defendant Broskie is the executive officer of the

School Board, tasked with implementing and enforcing School District policies set

out by the School Board, as well as supervising and disciplining employees under

Fla. Stat. § 1001.33. He nominates candidates for district positions to the School

Board which then votes on whether to hire the individuals. He is sued in his

individual and official capacities.

      12.     Defendant John O’Brian is the Principal of Paterson Elementary

School, which is part of Clay County District Schools. He is and was at all times

relevant herein, acting within the course and scope of his employment, under color

of state law and consistent with the customs, policies, and practices of Clay County

District Schools, having been hired by the School Board upon nomination by the

Superintendent. As principal, he is responsible for the performance of all personnel

employed by the district school board and assigned to the school to which he is

assigned under Fla. Stat. § 1012.28. He is sued in his individual and official

capacities.




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       13.    Defendant Courtney Schumacher is the Assistant Principal of Paterson

Elementary School, which is part of Clay County District Schools. She is and was

at all times relevant herein, acting within the course and scope of her employment,

under color of state law and consistent with the customs, policies, and practices of

Clay County District Schools. She is sued in her individual and official capacities.

       14.    Defendant Destiney Washington is a School Counselor at Paterson

Elementary School, which is part of Clay County District Schools. She is and was

at all times relevant herein, acting within the course and scope of her employment,

under color of state law and consistent with the customs, policies, and practices of

Clay County District Schools. She is sued in her individual and official capacities.

                               STATEMENT OF FACTS

       15.    Plaintiffs’ daughter, A.P. is a sixth grader at Paterson Elementary

School.

       16.    Plaintiffs and A.P. are practicing Roman Catholics whose sincerely

held religious beliefs, including a Judeo-Christian worldview based on natural law

and objective truth, permeate all aspects of their lives.

       17.    Plaintiffs are informed and believe and based thereon allege that district

staff was aware of their sincerely held religious beliefs and that those beliefs required

adherence to the teachings of Scripture and the Church, honesty, and objectively

verifiable scientific facts.


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      18.   On January 5, 2022, Mr. and Mrs. Perez received a call from

Defendant Washington, who identified herself as a school counselor at Paterson

Elementary School.

      19.   Mrs. Washington told Mr. and Mrs. Perez that they needed to come

to the school right away, “It’s about A.” Mrs. Washington would not reveal any

further information.

      20.   Mr. and Mrs. Perez arrived at the school and waited in the lobby for

20 minutes, still having no information about their daughter.

      21.   Finally, Mr. and Mrs. Perez were escorted into a room with Mrs.

Washington, Principal O’Brian, Vice Principal Schumacher, and a Clay County

Schools Police officer. Mr. and Mrs. Perez were instructed to sit down.

      22.   Mrs. Washington told Mr. and Mrs. Perez that the reason that they

were called to the school was because A.P., their 12-year-old daughter, had tried

to commit suicide by hanging herself in the school restroom.

      23.   Mr. and Mrs. Perez were shocked by this revelation and Mrs. Perez

asked why it happened.

      24.   Mrs. Washington responded, “Because of her gender identity issue.”

Mrs. Washington said that A.P. wanted to be referred to as a male named “M.”

and “he” and that her parents would not be in agreement with these changes

because of their Catholic Christian religious beliefs.


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       25.    Mrs. Washington thereby revealed her understanding that the Perez

family adhered to sincerely held religious beliefs that did not agree with a girl

being falsely identified as a male with a male name and use of male pronouns.

       26.    Mrs. Washington revealed that the suicide attempt on January 5, 2022

was actually the second attempt, stating that A.P. had similarly tried to hang herself

on January 4, 2022. Mrs. Washington claimed that school staff was not aware of the

first attempt prior to the attempt on January 5, 2022.

       27.    Mr. Perez stated that this was the first he had heard about A.P. having

any issue with her sex.

       28.    Prior to the incident on January 5, 2022, A.P. had not exhibited any

signs of gender confusion or questioning of her biological sex. In fact, just before

the incident she had told her mother that she believed that people who say they are

transgender have a problem with their minds because “if you’re a boy, you’re a boy,

if you’re a girl, you’re a girl.”

       29.    Prior to the meeting on January 5, 2022, Mr. and Mrs. Perez had not

received any information from the school that A.P. was experiencing distress or

exhibiting signs of gender confusion. Nor did they receive any information from the

school that A.P. was being bullied at school and feeling insecure about being a girl,

which was apparently happening.




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      30.      At the meeting on January 5, 2022, Mrs. Washington told Mr. and Mrs.

Perez that she had been meeting with A.P. on a weekly basis for a period of three to

four months during which time Defendant Washington discussed the gender

confusion and bullying with A.P. Thereafter A.P.’s distress escalated to the point of

attempting suicide at school, all of which occurred without her parents’ knowledge.

      31.      Mr. and Mrs. Perez were not informed of the full extent of the matters

discussed, or of who else might have been meeting with their daughter or who in

district or school administration was aware of and approved of the surreptitious

meetings. Mr. and Mrs. Perez are informed and believe and based thereon allege that

Mrs. Schumacher was aware of the meetings based upon her comments during the

January 5, 2022 meeting regarding “confidentiality.”

      32.      Mr. and Mrs. Perez were not notified about the meetings or asked for

their consent for their minor child to discuss such mental health issues with anyone

at school, and were not provided with the opportunity to participate in the

discussions.

      33.      At no time prior to the crisis on January 5, 2022 were Mr. and Mrs.

Perez informed that their 12-year-old daughter had questions about or distress

concerning her sex, let alone that while at school she had become distressed to the

point of attempting suicide twice on school property.




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       34.    At the January 5, 2022 meeting, Mrs. Schumacher told Mr. and Mrs.

Perez that school officials were “not required” to tell the parents about the meetings

with their 12-year-old daughter, thus expressing that there was at least a de facto

district policy against notifying parents. Mrs. Schumacher said “confidentiality

issues” prevented them from notifying the parents. Neither she nor anyone affiliated

with the school provided legal authority for these assertions.

       35.    To the contrary, Clay County Schools’ Webpage addressing “student

mental health and well-being” includes a document entitled “Understanding

Confidentiality” addressed to parents of children receiving counseling at school. A

true and correct copy of the “Understanding Confidentiality” document is attached

to this Complaint, marked as Exhibit A and incorporated herein by reference as if

set forth in full.

       36.    The “Understanding Confidentiality” document specifically states:

       Children seen in individual sessions (except under certain conditions)
       are not legally entitled to confidentiality (also called privilege); their
       parents have this right. However, unless children feel they have some
       privacy in speaking with a counselor, the benefits of therapy may be
       lost. Therefore, it is necessary to work out an arrangement in which
       children feel that their privacy is generally being respected, at the same
       time that parents have access to critical information. This agreement
       must have the understanding and approval of the parents or other
       responsible adults and of the child in therapy.

Exhibit A, p. 1 (emphases added).




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      37.    Mr. and Mrs. Perez were not provided with this document prior to their

daughter engaging in weekly sessions with Mrs. Washington and perhaps others.

They were not provided access to critical information regarding their child. Since

they were never informed that their daughter was being seen by the school counselor,

they did not reach an understanding nor approve of any arrangement regarding their

daughter’s counseling sessions.

      38.    Mr. and Mrs. Perez were not provided with, let alone did they sign,

“Consent for Treatment” forms necessary for their daughter to be seen by school

counseling staff.

      39.    Nevertheless, Mrs. Washington, and perhaps others, met weekly with

A.P. for several months, discussing and addressing mental health issues, and

promoting the idea that A.P. could identify as a boy, be called “M” and “he” and

thereby address her issues related to bullying and self-confidence in being a girl.

      40.    At some point during those sessions, A.P.’s mental distress escalated to

the point that she became suicidal. Still, her parents were not informed until she had

actually attempted suicide at school twice.

      41.    Mr. and Mrs. Perez did not receive so much as a phone call until their

12-year-old daughter had already tried to kill herself twice and was being admitted

to a mental health facility under the Baker Act. Had A.P.’s suicide attempts been




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successful, Mr. and Mrs. Perez would have known nothing about their daughter’s

mental health issues until they received word that their child was dead.

       42.   At the January 5, 2022 meeting, Mr. and Mrs. Perez were informed by

a Clay County Schools Police officer that A.P. had been placed in the back of a

police car and was going to be transported to a mental health facility under the Baker

Act.

       43.   The officer advised Mr. and Mrs. Perez that A.P. was going to be

transported regardless of whether the parents agreed. Mr. and Mrs. Perez agreed that

A.P. be transported to the mental health facility.

       44.   Mr. and Mrs. Perez were not given the option of transporting their

traumatized daughter to the facility or even traveling with her to provide comfort.

       45.   Instead, their suicidal 12-year-old daughter was taken in a police

vehicle to an emergency room, where she stayed until 4 a.m. when she was

transferred alone, without the comfort and/or support of her parents, to another

emergency room and then admitted to the behavioral health unit at Wolfson

Children’s Hospital.

       46.   At the meeting on January 5, 2022, Mr. Perez informed those present

that he and Mrs. Perez did not agree with calling their daughter by a false male name

and identity. He made it clear that as practicing Roman Catholics the parents are not

in agreement with changing A.P.’s name, identity, and pronouns, and that such


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actions would be directly contrary to the family’s religious beliefs which permeate

all of their lives.

       47.    Principal O’Brian said that no one could impose changes on the family

that are against their values. In the presence of Mr. O’Brian, Mrs. Washington

claimed she would never do that, even though she had been doing exactly that

clandestinely for many months.

       48.    Despite Mrs. Washington’s claim that A.P. attempted suicide because

she was distressed because her parents would not affirm her desire to be referred to

as a boy named “M.” and with the pronoun “he,” when A.P. was admitted to the

hospital and staff referred to her as “M,” she corrected them and said, “I'm not M,

I’m A.”

       49.    A.P. remained as an inpatient at Wolfson Children’s Hospital

behavioral health unit with only limited access to her parents until January 13, 2022

when she was discharged into her parents’ care.

       50.    Only after A.P. returned home did Mr. and Mrs. Perez learn about the

extent of Defendants’ interference with their fundamental parental rights.

       51.    After returning home. A.P. explained that during fall semester 2021 she

was being bullied at school and felt weak, that as a girl she could not do anything to

stop it.




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      52.    A.P. likes video games and sports and was told by her peers that those

were “boy things.” A friend confided in A.P. that she thought she was “transgender,”

and A.P. began to think she could be transgender too because she wanted to be strong

and free “like a boy.”

      53.    A.P. went to see Mrs. Washington and noticed that Mrs. Washington

had a lot of posters, literature, and other promotional materials related to LGBTQ

“pride” in her office. A.P. thought those materials were “cool.”

      54.    A.P. asked Mrs. Washington if she supported transgender people and

Mrs. Washington said that she did. A.P. said to Mrs. Washington, “in that case call

me “M” and ‘he’.”

      55.    A.P. continued to see Mrs. Washington at least weekly during which

time Mrs. Washington endorsed the belief that A.P. could be a boy and called A.P.

“M” and “he.”

      56.    Mrs. Washington, who had not informed Mr. and Mrs. Perez of her

meetings with A.P. and of A.P.’s mental health concerns, asked A.P. whether her

parents “accepted” her. A.P. replied that her parents did not know about A.P. being

referred to as a boy and that she did not want her parents to know because of their

Christian values as practicing Catholics.




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      57.    In further disregard for the law regarding parental notification and the

school’s own protocols regarding confidentiality, Mrs. Washington assured A.P. that

she would not tell A.P.’s parents.

      58.    However, Mrs. Washington’s promise of confidentiality did not extend

to A.P.’s peers and others. A.P. had not told others outside of Mrs. Washington’s

office about being called “M.” Mrs. Washington took it upon herself to show her

endorsement of a male identity by calling A.P. “M” outside of her office and in front

of A.P.’s friends without first consulting A.P.

      59.    A.P. was humiliated. Peers began further bullying her then about her

purported gender confusion, hurling insults at her related to her discordant identity.

      60.    A.P. became more confused and depressed as the bullying she was

trying to remedy had only gotten worse because of Mrs. Washington’s actions.

      61.    A.P. did not ask Mrs. Washington for any help notifying other teachers

about being called “M.” Nevertheless, Mrs. Washington promised A.P: “I will get

ALL of your teachers to call you “M.” “I don’t know when it will happen but it

WILL happen.”

      62.    Still, neither Mrs. Washington nor anyone else from the school or the

district contacted Mr. and Mrs. Perez about these meetings and incidents regarding

A.P. being falsely referred to as a male.




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       63.     School officials had previously informed Mr. and Mrs. Perez about

some concerns regarding A.P. falling behind academically and being unruly in class.

Mr. and Mrs. Perez immediately addressed those issues and A.P.’s academic

performance improved.

       64.     However, those same protocols were ignored when A.P. was

experiencing mental health issues, issues that are wholly and exclusively within the

purview and responsibility of Mr. and Mrs. Perez as parents, and which posed a

much greater threat to A.P.’s safety, mental health, and well-being. Rather than

immediately contacting Mr. and Mrs. Perez as they had regarding academic and

discipline issues, Defendants deliberately withheld critical mental health

information from them based on an unsubstantiated assertion that the information

was “confidential” because it related to gender identity.

       65.     Defendants recklessly disregarded the rights of Mr. and Mrs. Perez as

the parents of A.P. and substituted their judgment for that of the parents in providing

mental health counseling and treatment without the knowledge or consent of A.P.’s

fit parents.

       66.     Defendants’ clandestine and unauthorized actions regarding A.P.

deprived Mr. and Mrs. Perez of their right to be informed of what was going on with

their child concerning a serious mental health issue and of their ability to determine




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and provide their child the mental health care and assistance she needed before she

became suicidal.

      67.      Defendants’ reckless disregard for the rights of Mr. and Mrs. Perez and

for the well-being of A.P. led to A.P. attempting suicide twice on school property,

causing permanent injury to A.P. and to the familial relationship between A.P. and

her parents.

      68.      A.P. has suffered and continues to suffer emotional distress,

psychological and physical injuries as the direct result of Defendants’ reckless

disregard for her right to receive care, comfort, and guidance from her parents, her

right to free exercise of her sincerely held religious beliefs, her right to familial

privacy, and other individual rights.

      69.      Mr. and Mrs. Perez have suffered and continue to suffer emotional

distress, psychological and physical injuries as the direct result of Defendants’

reckless disregard for their fundamental parental rights to direct the upbringing,

education and mental and physical health care for their daughter, their right to

familial privacy, right to free exercise of religion, and their rights under the Parents’

Bill of Rights and other Florida statutes.




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                          FIRST CAUSE OF ACTION
             VIOLATION OF CIVIL RIGHTS, 42 U.S.C. § 1983
(Violation of Plaintiffs’ Substantive Due Process Fundamental Parental Right
    to Direct the Education and Upbringing of Their Child under the U.S.
                                  Constitution)
         (By Mr. and Mrs. Perez individually Against all Defendants)

       70.       Plaintiffs incorporate the preceding allegations by reference as if set

forth in full.

       71.       The Due Process Clause in the 14th Amendment to the United States

Constitution protects the fundamental right of parents to make decisions concerning

the care, custody, and control of their children. Troxel v. Granville, 530 U.S. 57, 68

(2000)

       72.       Defendants violated Plaintiffs’ fundamental right to make decisions

regarding the custody, care and control of their daughter when Mrs. Washington and

perhaps others surreptitiously began meeting with A.P. weekly to discuss and

address mental health issues, promote and affirm a discordant gender identity and

continue meeting with A.P. without the knowledge and approval of her parents.

       73.       Defendants    acted   with    deliberate   indifference   to   Plaintiffs’

fundamental parental rights by meeting with Plaintiffs’ daughter and engaging in

mental health counseling over a period of several months without notifying parents

despite enactment of the Parents’ Bill of Rights and published district protocols

which state, consistent with the law, that children do not enjoy rights of

confidentiality vis-a-vis their parents.

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      74.    Defendants    acted   with    deliberate     indifference   to   Plaintiffs’

fundamental parental rights by withholding information regarding their daughter’s

mental health based on a de facto district policy based on an unsubstantiated

assertion that children have rights of confidentiality that prohibit disclosing

information regarding gender identity to parents, thereby explicitly and intentionally

excluding Plaintiffs from significant decision-making directly related to their

daughter’s well-being.

      75.    Defendants further acted with deliberate indifference to Plaintiffs’

fundamental rights by failing to notify Plaintiffs that their daughter’s mental health

was deteriorating to the point that she became suicidal.

      76.    Defendants further acted with deliberate indifference to Plaintiffs’

fundamental rights by implicitly affirming the message that because of the family’s

sincerely held religious beliefs A.P.’s parents would not accept A.P.’s request that

she be falsely referred to as a boy named “M” with male pronouns, so that they

would not be informed, thereby creating discord and division between A.P. and her

parents without even communicating with Mr. and Mrs. Perez.

      77.    Defendants’ deliberate indifference to Plaintiffs’ rights resulted in

deprivation of their fundamental constitutional rights.

      78.    Plaintiffs’ constitutionally protected right to direct the upbringing and

education of their children was violated as the plainly obvious consequence of


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Defendants’ actions in intentionally and explicitly withholding information from

Mr. and Mrs. Perez in accordance with a de facto school policy that parents were not

to be notified when their children expressed a discordant gender identity and wanted

to affirm that identity.

       79.       Defendants cannot assert a compelling interest for disregarding

Plaintiffs’ long-established fundamental constitutional right to direct the upbringing,

care, and education of their children, and Defendants’ prohibition against parental

notification is not narrowly tailored.

       80.       Defendants’ violation of Plaintiffs’ fundamental constitutional rights

has caused and continues to cause Plaintiffs undue hardship and irreparable harm.

       81.       Plaintiffs have no adequate remedy at law to correct the continuing

deprivation of their fundamental rights.

                         SECOND CAUSE OF ACTION
                  VIOLATION OF CIVIL RIGHTS, 42 U.S.C. § 1983

  (Violation of Plaintiffs’ Fundamental Parental Right to Direct the Medical
     and Mental Health Decision-making for Their Child Under the U.S.
                                 Constitution)
         (By Mr. and Mrs. Perez individually Against all Defendants)
       82.       Plaintiffs incorporate the preceding allegations by reference as if set

forth in full.

       83.       The Due Process Clause in the 14th Amendment to the United States

Constitution protects the fundamental right of parents to direct the medical and


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mental health decision-making for their children. Parham v. J. R., 442 U.S. 584

(1979).

      84.    Defendants’ violated Plaintiffs’ fundamental right to make decisions

regarding medical and mental health care for their daughter when Mrs. Washington

and perhaps others surreptitiously began meeting with A.P. weekly to discuss and

treat mental health issues, promote and affirm a discordant gender identity and

continue meeting with A.P. without the knowledge and approval of her parents.

      85.    Defendants    acted   with    deliberate     indifference   to   Plaintiffs’

fundamental parental rights by withholding information regarding their daughter’s

mental health based on an unsubstantiated assertion that children have rights of

confidentiality that prohibit disclosing information regarding gender identity to

parents, thereby explicitly and intentionally excluding Plaintiffs from making the

mental health decisions for their daughter that are exclusively their right to make.

      86.    Defendants further acted with deliberate indifference to Plaintiffs’

fundamental rights by failing to inform Plaintiffs about their daughter’s mental

health issues so that they could determine the provision of treatment and care before

she became suicidal and had to be involuntarily committed under the Baker Act.

      87.    Defendants’ deliberate indifference to Plaintiffs’ rights resulted in

deprivation of their fundamental constitutional rights.




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      88.    Plaintiffs’ constitutionally protected right to direct the medical and

mental health decision-making for their child was violated as the plainly obvious

consequence of Defendants’ actions in intentionally and explicitly withholding

information from Mr. and Mrs. Perez in accordance with a de facto district policy

that parents were not to be notified when their children expressed a discordant gender

identity and wanted to affirm that identity.

      89.    Defendants cannot assert a compelling interest for disregarding

Plaintiffs’ long-established fundamental constitutional right to direct the medical

and mental health care for their child, and Defendants’ prohibition against parental

notification is not narrowly tailored.

      90.    By excluding Mr. and Mrs. Perez from discussions regarding their

child’s mental health issues, including questions regarding gender identity and

adopting protocols aimed at withholding information from parents, Defendants are

making decisions that affect the mental health of their child in contravention of

Plaintiffs’ fundamental rights.

      91.    Defendants have usurped Plaintiffs’ responsibility for the health and

well-being of their child and sought to supplant their authority for Plaintiffs’

authority as fit parents to be the ultimate decision makers regarding the physical and

mental health of their child, including decisions related to their child’s confusion or

distress about her sex or gender identity. Substituting their judgment for the


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judgment of A.P.’s parents led to A.P. attempting suicide at school and being subject

to police intervention and involuntary commitment and confinement under the Baker

Act.

       92.   Defendants’ deliberate indifference to Plaintiffs’ rights resulted in

deprivation of their fundamental constitutional rights to direct the medical and

mental health decision-making for their child.

       93.   Plaintiffs’ constitutionally protected right to direct the medical and

mental health decision-making for their child was violated as the plainly obvious

consequence of Defendants’ actions in meeting surreptitiously with A.P.,

withholding mental health information from Mr. and Mrs. Perez, promoting and

affirming a discordant gender identity, affirming disparaging messages regarding the

family’s sincerely held religious beliefs and taking other actions of which Plaintiffs

are presently unaware.

       94.   Defendants cannot assert a compelling state interest for disregarding

Plaintiffs’ long-established fundamental constitutional right to make medical and

mental health care decisions for their child, and Defendants’ explicit prohibition

against parental notification is not narrowly tailored.

       95.   Defendants’ violation of Plaintiffs’ fundamental constitutional rights

has caused and continues to cause Plaintiffs undue hardship and irreparable harm.




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       96.       Plaintiffs have no adequate remedy at law to correct the continuing

deprivation of their fundamental rights.

                         THIRD CAUSE OF ACTION
                  VIOLATION OF CIVIL RIGHTS, 42 U.S.C. § 1983

(Violation of Plaintiffs’ Right to Familial Privacy Under the U.S. Constitution)
                             (Against all Defendants)
       97.       Plaintiffs incorporate the preceding allegations by reference as if set

forth in full.

       98.       The Due Process Clause in the 14th Amendment to the United States

Constitution protects the sanctity of the family as an institution deeply rooted in this

Nation's history and tradition through which moral and cultural values are passed

down. Moore v. East Cleveland, 431 U.S. 494, 503-04 (1977). The Constitution

protects the private realm of the family from interference by the state. Prince v.

Massachusetts, 321 U.S. 158, 166 (1944).

       99.       In substituting their judgment regarding the mental health of A.P. for

the judgment of the parents by meeting secretly to promote and affirm gender

confusion and a discordant gender identity without notifying the parents, Defendants

have impermissibly injected themselves into the private realm of Plaintiffs’ family

by usurping Plaintiffs’ rights to make decisions regarding their child’s mental health

and well-being.

       100. In substituting their judgment regarding the mental health of A.P. for

the judgment of the parents by meeting secretly to promote and affirm gender
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confusion and a discordant gender identity without notifying the parents, Defendants

have impermissibly injected themselves into the private realm of Plaintiffs’ family

by depriving A.P. of her right to have decisions regarding her mental health and

well-being made by her parents.

      101. Defendants have infringed Plaintiffs’ right to family privacy by

implicitly affirming that A.P.’s parents will unreasonably not agree with her

assumption of a male name because of their religious beliefs and therefore cannot be

trusted to be informed of or involved in decision-making related to her identity.

Defendants have nurtured seeds of doubt within A.P.’s mind about whether her

parents are acting in her best interest, thereby creating discord and division in the

parent-child relationship that infringes Plaintiffs’ right to family privacy.

      102. Defendants acted with deliberate indifference to Plaintiffs’ rights to

family privacy by their actions in intentionally casting doubt on the parents’ support

and ability to respond appropriately to their child’s expression of a discordant gender

identity and excluding parents from decision-making related to their child’s

questions regarding her sex and gender identity.

      103. Defendants’ deliberate indifference to Plaintiffs’ rights resulted in

deprivation of their constitutional right to family privacy.

      104. Plaintiffs’ constitutionally protected right to familial privacy was

violated as the plainly obvious consequence of Defendants’ actions in intentionally


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and explicitly determining that Mr. and Mrs. Perez were not to be notified when their

12-year-old daughter was receiving mental health treatment and being affirmed and

promoted as a boy named “M.”

      105. Defendants cannot assert a compelling state interest for disregarding

Plaintiffs’ constitutional right to familial privacy, and Defendants’ prohibitions

against parental notification and involvement in children’s mental health decisions

related to gender identity are not narrowly tailored.

      106. Defendants’ violation of Plaintiffs’ constitutional rights has caused and

continues to cause Plaintiffs undue hardship and irreparable harm in that, inter alia,

A.P. became depressed, attempted suicide twice and was committed to a mental

health center without being permitted to have the care, companionship, and guidance

of her parents.

      107. Defendants’ violation of Plaintiffs’ constitutional rights has caused and

continues to cause Plaintiffs undue hardship and irreparable harm in that Mr. and

Mrs. Perez were denied their right to make mental health decisions for their daughter

without interference from the state, to make decisions in keeping with their family

values and sincerely held religious beliefs, and provide comfort, care and direction

to their daughter as she was undergoing a mental health crisis.

      108. Plaintiffs have no adequate remedy at law to correct the continuing

deprivation of their fundamental rights.


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                           FOURTH CAUSE OF ACTION
                     Violation of Civil Rights, 42 U.S.C. § 1983
                 (Violation of Plaintiffs’ Right to Free Exercise of Religion
                                Under the U.S. Constitution)
                                    (Against all Defendants)

       109. Plaintiffs incorporate the preceding allegations by reference as if set

forth in full.

       110. The Free Exercise Clause of the First Amendment to the United States

Constitution, as applied to the states by the Fourteenth Amendment, prohibits

Defendants from abridging Plaintiffs’ right to free exercise of religion.

       111. Plaintiffs have sincerely held religious beliefs that human beings are

created male or female and that the natural created order regarding human sexuality

cannot be changed regardless of individual feelings, beliefs, or discomfort with one’s

identity, and biological reality, as either male or female.

       112. Plaintiffs have sincerely held religious beliefs that parents have the non-

delegable duty to direct the upbringing and beliefs, religious training, and medical

and mental health care of their children and any intrusion of the government into

that realm infringes upon the free exercise of their religion.

       113. Plaintiffs have sincerely held religious beliefs that all people are to be

treated with respect and compassion, but that respect and compassion do not include

misrepresenting an individual’s natural created identity as either a male or a female.




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      114. Plaintiffs have sincerely held religious beliefs that individuals are to

speak the truth, including speaking the truth regarding matters of sexual identity as

a male or female.

      115. Defendants’ actions in excluding Mr. and Mrs. Perez from decision

making regarding their daughter because of their Catholic Christian faith, target the

Plaintiffs’ beliefs regarding the created order, human nature, sexuality, gender,

ethics, and morality which constitute central components of their sincerely held

religious beliefs.

      116. Defendants were aware of the family’s sincerely held religious beliefs

and that such beliefs would conflict with untruthfully calling A.P. a male named “M”

and using male pronouns. Defendants deliberately and recklessly used that

knowledge to disparage the family’s sincerely held religious beliefs to the detriment

of A.P.’s mental health and in derogation of Plaintiffs’ fundamental rights.

      117. Defendants’ actions have caused a direct and immediate conflict with

Plaintiffs’ religious beliefs by prohibiting them from being informed of the mental

health issues A.P. is undergoing and seeking counseling and guidance for A.P. in a

manner that is consistent with the beliefs held by Mr. and Mrs. Perez and A.P. herself

before A.P. became suicidal.

      118. Defendants’ actions have impermissibly burdened Plaintiffs’ sincerely

held religious beliefs by nurturing seeds of doubt and distrust in A.P.’s mind


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regarding the family’s beliefs and whether adherence to them is beneficial and

healthy.

       119. Defendants’ actions are neither neutral nor generally applicable, but

rather specifically and discriminatorily target the religious speech, beliefs, and

viewpoint of Plaintiffs and thus expressly constitute a substantial burden on

sincerely held religious beliefs that are contrary to Defendants’ viewpoint regarding

gender identity and affirmation of a discordant gender identity.

       120. No compelling state interest justifies the burdens Defendants imposed

on Plaintiffs’ rights to the free exercise of religion.

       121. Defendants’ actions are not the least restrictive means to accomplish

any permissible government purpose Defendants seek to serve.

       122. Defendants’ violation of Plaintiffs’ rights to free exercise of religion

has caused, is causing, and will continue to cause Plaintiffs to suffer undue and actual

hardships. Said hardships include exacerbation of A.P.’s mental health concerns to

the point of her attempting suicide and now having to seek therapeutic intervention

to address the long-term effects of Defendants’ actions, diminution of the parent-

child relationship, invasion of familial privacy, and physical and emotional injuries

to all Plaintiffs.

       123. Defendants’ violation of Plaintiffs’ rights to free exercise of religion

has caused, is causing, and will continue to cause Plaintiffs to suffer irreparable


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injury. Plaintiffs have no adequate remedy at law to correct the continuing

deprivation of their most cherished constitutional liberties.

                          FIFTH CAUSE OF ACTION
  (Violation of Plaintiffs’ Right to Free Exercise And Enjoyment Of Religion
                Under Article I, §3 Of The Florida Constitution)
                             (Against All Defendants)

       124. Plaintiffs incorporate all of the preceding allegations by reference as if

set forth in full.

       125. Article I, § 3 of the Florida Constitution states, “There shall be no law

respecting the establishment of religion or prohibiting or penalizing the free exercise

thereof.”

       126. Plaintiffs have sincerely held religious beliefs that human beings are

created male or female and that the natural created order regarding human sexuality

cannot be changed regardless of individual feelings, beliefs, or discomfort with one’s

identity, and biological reality, as either male or female.

       127. Plaintiffs have sincerely held religious beliefs that parents have the non-

delegable duty to direct the upbringing and beliefs, religious training, and medical

and mental health care of their children and any intrusion of the government into

those duties and responsibilities infringes upon the free exercise of their religion.

       128. Plaintiffs have sincerely held religious beliefs that all people are to be

treated with respect and compassion, but that respect and compassion do not include

misrepresenting an individual’s natural created identity as either a male or a female.

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      129. Plaintiffs have sincerely held religious beliefs that individuals are to

speak the truth, including speaking the truth regarding matters of sexual identity as

a male and female.

      130. Defendants’ actions in excluding Mr. and Mrs. Perez from decision

making regarding their daughter’s mental health because of their Christian faith,

target the Plaintiffs’ beliefs regarding human nature, the created order, gender,

sexuality, ethics, and morality which constitute central components of their sincerely

held religious beliefs.

      131. Defendants were aware of the family’s sincerely held religious beliefs

and that such beliefs would conflict with untruthfully calling A.P. a male named “M”

and using male pronouns. Defendants deliberately and recklessly used that

knowledge to nurture doubts about the wisdom and benefit of those beliefs to the

detriment of A.P.’s mental health and in derogation of Plaintiffs’ fundamental rights.

      132. Defendants’ actions have caused a direct and immediate conflict with

Plaintiffs’ religious beliefs by prohibiting them from being informed of the mental

health issues A.P. is undergoing and seeking counseling and guidance for A.P. in a

manner that is consistent with the beliefs held by Mr. and Mrs. Perez and A.P.

      133. Defendants’ actions have impermissibly burdened Plaintiffs’ sincerely

held religious beliefs by nurturing seeds of doubt and distrust in A.P.’s mind




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regarding the family’s beliefs and whether adherence to them is beneficial and

healthy.

       134. Defendants’ actions are neither neutral nor generally applicable, but

rather specifically and discriminatorily target the religious speech, beliefs, and

viewpoint of Plaintiffs and thus expressly constitute a substantial burden on

sincerely held religious beliefs that are contrary to Defendants’ viewpoint regarding

gender identity and affirmation of a discordant gender identity.

       135. No compelling state interest justifies the burdens Defendant imposed

upon Plaintiffs’ rights to the free exercise of religion.

       136. Defendants’ actions are not the least restrictive means to accomplish

any permissible government purpose Defendants seek to serve.

       137. Defendants’ violation of Plaintiffs’ rights to free exercise of religion

has caused, is causing, and will continue to cause Plaintiffs to suffer undue and actual

hardships. Said hardships include exacerbation of A.P.’s mental health concerns to

the point of her attempting suicide and now having to seek therapeutic intervention

to address the long-term effects of Defendants’ actions, diminution of the parent-

child relationship, invasion of familial privacy, and physical and emotional injuries

to all Plaintiffs.

       138. Defendants’ violation of Plaintiffs’ rights to free exercise of religion

has caused, is causing, and will continue to cause Plaintiffs to suffer irreparable


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injury. Plaintiffs have no adequate remedy at law to correct the continuing

deprivation of their most cherished constitutional liberties.

                             SIXTH CAUSE OF ACTION

                     (Violation of Plaintiffs’ Right to Privacy Under
                       Article 1, § 23 of the Florida Constitution)
                                 (Against all Defendants)
       139. Plaintiffs incorporate all of the preceding allegations by reference as if

set forth in full.

       140. Plaintiffs, as Floridians, enjoy an explicit right of privacy under Article

1, § 23 of the Florida Constitution, which provides in pertinent part that “[e]very

natural person has the right to be let alone and free from governmental intrusion into

his private life.”

       141. Under Article 1, § 23 of the Florida Constitution, “the State may not

intrude upon the parents’ fundamental right to raise their children except in cases

where the child is threatened with harm.” Von Eiff v. Azicri, 720 So.2d 510 (FL

1998).

       142. In substituting their judgment regarding the mental health of A.P. for

the judgment of the parents by meeting secretly to discuss gender identity issues

without notifying the parents, Defendants have impermissibly injected themselves

into the private realm of Plaintiffs’ family by usurping Mr. and Mrs. Perez’s

fundamental right to make decisions regarding their child’s well-being.


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      143. In substituting their judgment regarding the mental health of A.P. for

the judgment of the parents by meeting secretly to discuss and address gender

identity issues without notifying the parents, Defendants have impermissibly

injected themselves into the private realm of Plaintiffs’ family by depriving A.P. of

her right to have decisions regarding her mental health and well-being made by her

parents.

      144. Defendants have infringed Plaintiffs’ right to family privacy by

prompting Plaintiffs’ daughter to affirm a discordant gender identity without the

approval of her parents and to implicitly endorse a belief that A.P.’s parents do not

“accept” her sufficiently to participate in decision-making related to questions

regarding her identity. Defendants have nurtured seeds of doubt within Plaintiffs’

daughter’s mind about whether her parents are acting in her best interest, thereby

creating discord and division in the parent-child relationship that infringes Plaintiffs’

right to family privacy.

      145. Defendants acted with deliberate indifference to Plaintiffs’ rights to

family privacy by their actions in intentionally excluding Mr. and Mrs. Perez parents

from decision-making related to their child’s questions regarding her sex and gender

identity and reinforcing in A.P.’s mind that her parents should not be trusted with

that decision making by promising to not inform them.




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       146. Defendants’ deliberate indifference to Plaintiffs’ rights resulted in

deprivation of their constitutional right to family privacy.

       147. Plaintiffs’ constitutionally protected right to familial privacy was

violated as the plainly obvious consequence of Defendants’ actions in intentionally

withholding information from Mr. and Mrs. Perez and implicitly communicating to

A.P. that her parents were unsupportive of her struggle with gender identity because

of the family’s religious beliefs.

       148. Defendants cannot assert a compelling state interest for disregarding

Plaintiffs’ constitutional right to familial privacy, and Defendants’ prohibition

against parental notification and involvement in children’s mental and emotional

health decisions are not narrowly tailored.

       149. Defendants’ violation of Plaintiffs’ constitutional rights has caused and

continues to cause Plaintiffs undue hardship and irreparable harm.

       150. Plaintiffs have no adequate remedy at law to correct the continuing

deprivation of their fundamental rights.

                        SEVENTH CAUSE OF ACTION
 (Violation of Plaintiffs’ Right to Substantive Due Process under Art. I § 9 of
                            the Florida Constitution)
                             (Against all Defendants)
       151. Plaintiffs incorporate the preceding allegations by reference as if set

forth in full.



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      152. Art. I, § 9, Fla. Const., like the 14th Amendment to the U.S.

Constitution, provides that “[n]o person shall be deprived of life, liberty or property

without due process of law.”

      153. Substantive due process under Art. I, § 9 of the Florida Constitution

protects the “full panoply of individual rights” and in particular, the long-established

fundamental right of parents to direct the upbringing of their children, from

unwarranted encroachment by the government. J.B. v. Fla. Dep't of Child. & Fam.

Servs., 768 So. 2d 1060, 1063 (Fla. 2000).

      154. Defendants’ violated Plaintiffs’ fundamental right to make decisions

regarding upbringing, education, medical and mental health care, and religious

training for their daughter when Mrs. Washington and perhaps others surreptitiously

began meeting with A.P. weekly to discuss and address mental health issues and

promote and affirm a discordant gender identity and continued to meet with A.P. for

months without the knowledge and approval of her parents.

      155. Defendants       acted   with    deliberate   indifference   to     Plaintiffs’

fundamental parental rights by meeting with Plaintiffs’ daughter and engaging in

mental health counseling over a period of several months without notifying parents

despite enactment of the Parents’ Bill of Rights requiring such notifications and in

contravention to the district’s published statements, consistent with the law, that

children do not enjoy rights of confidentiality vis-a-vis their own parents.


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      156. Defendants      acted   with    deliberate     indifference   to   Plaintiffs’

fundamental parental rights by withholding information regarding their daughter’s

mental health based on an unsubstantiated belief that children have rights of

confidentiality that prohibit disclosing information regarding gender identity to

parents, thereby explicitly and intentionally excluding Plaintiffs from making the

mental health decisions for their daughter that are exclusively their right to make.

      157. Defendants further acted with deliberate indifference to Plaintiffs’

fundamental rights by failing to inform Plaintiffs about their daughter’s mental

health issues so that they could provide treatment and care before she became

suicidal and had to be involuntarily committed under the Baker Act.

      158. Defendants’ deliberate indifference to Plaintiffs’ rights resulted in

deprivation of their fundamental constitutional rights.

      159. Plaintiffs’ constitutionally protected right to direct the upbringing,

education, religious training, and medical and mental health decision-making for

their child was violated as the plainly obvious consequence of Defendants’ actions

in intentionally and explicitly withholding information from Mr. and Mrs. Perez in

accordance with a de facto school and district policy that parents were not to be

notified when their children expressed a discordant gender identity and wanted to

affirm that identity.




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      160. Defendants cannot assert a compelling interest for disregarding

Plaintiffs’ long-established fundamental constitutional right to direct the upbringing,

education, religious training, and medical and mental health care for their child, and

Defendants’ prohibition against parental notification is not narrowly tailored.

      161. By excluding Mr. and Mrs. Perez from discussions regarding their

child’s mental health issues, including questions regarding gender identity and

adopting protocols aimed at withholding information from parents, Defendants are

making decisions that affect the mental health of their child in contravention of

Plaintiffs’ fundamental rights.

      162. Defendants have usurped Plaintiffs’ responsibility for the health and

well-being of their child and supplanted their authority for Plaintiffs’ authority as

fit parents to be the ultimate decision makers regarding the physical and mental

health of their child, including decisions related to their child’s confusion or distress

about her sex or gender identity. Substituting their judgment for the judgment of

A.P.’s parents led to A.P. attempting suicide and being subject to police intervention

and involuntary commitment and confinement under the Baker Act.

      163. Defendants’ deliberate indifference to Plaintiffs’ rights resulted in

deprivation of their fundamental constitutional rights to direct the medical and

mental health decision-making for their child.




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       164. Plaintiffs’ constitutionally protected right to direct the medical and

mental health decision-making for their child was violated as the plainly obvious

consequence of Defendants’ actions in meeting surreptitiously with A.P.,

withholding mental health information from Mr. and Mrs. Perez, promoting and

affirming a discordant gender identity, affirming disparaging messages regarding the

family’s sincerely held religious beliefs and taking other actions of which Plaintiffs

are presently unaware.

       165. Defendants cannot assert a compelling state interest for disregarding

Plaintiffs’ long-established fundamental constitutional right to make medical and

mental health care decisions for their child, and Defendants’ explicit prohibition

against parental notification is not narrowly tailored.

       166. Defendants’ violation of Plaintiffs’ fundamental constitutional rights

has caused and continues to cause Plaintiffs undue hardship and irreparable harm.

       167. Plaintiffs have no adequate remedy at law to correct the continuing

deprivation of their fundamental rights.

                        EIGHTH CAUSE OF ACTION
   (Violation of the Parents’ Bill of Rights, Florida Statutes, Chapter 1014)
                           (Against All Defendants)
       168. Plaintiffs incorporate the preceding allegations by reference as if set

forth in full.




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      169. Effective July 1, 2021, The Parents’ Bill of Rights reserves all parental

rights, including the rights to direct the education, upbringing, moral or religious

training and to make health care decisions for their minor children to parents

“without obstruction or interference from the state, any of its political subdivisions,

any other governmental entity, or any other institution. Florida Statutes § 1014.04.

      170. Florida Statutes § 1014.03 provides:

      The state, any of its political subdivisions, any other governmental
      entity, or any other institution may not infringe on the fundamental
      rights of a parent to direct the upbringing, education, health care, and
      mental health of his or her minor child without demonstrating that such
      action is reasonable and necessary to achieve a compelling state interest
      and that such action is narrowly tailored and is not otherwise served by
      a less restrictive means.

      171. Clay County School Board is a political subdivision of the state.

Defendant Superintendent Broskie is the executive officer of the School Board,

tasked with implementing and enforcing School District policies set out by the

School Board, including policies implementing the provisions of the Parents’ Bill of

Rights.

      172. Defendants have obstructed and interfered with Plaintiffs’ fundamental

parental rights and infringed on the fundamental rights of Plaintiffs to direct

education, upbringing, moral or religious training and to make health care decisions

for their minor child in providing mental health interventions to A.P. without the

knowledge or consent of Mr. and Mrs. Perez, by withholding information regarding

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A.P.’s questions regarding her sex and gender identity and the deterioration of her

mental health to the point of being suicidal; by communicating the message that the

family’s sincerely held religious beliefs mean that A.P.’s parents will not act in her

best interest, and otherwise interfering in the private realm of the Perez family.

      173. Defendants acted under auspices of the School Board through its

executive officer Defendant Broskie and Defendants O’Brian, Schumacher and

Washington were acting within the scope and course of their employment with

knowledge of the requirements of the Parents’ Bill of Rights when they withheld

information from Mr. and Mrs. Perez that is required to be provided under the law,

obstruct Mr. and Mrs. Perez’s exercise of the right to direct the education and

upbringing of their daughter, interfered with medical and mental health decision

making and obstructed the free exercise of the family’s religion.

      174. Defendants cannot assert a compelling interest for violating Florida

law, disregarding Plaintiffs’ fundamental right to direct the upbringing, care, and

education of their child, and Defendant’s prohibitions against parental notification

are not narrowly tailored.

      175. Defendants’ violation of the Parents’ Bill of Rights has caused and is

continuing to cause harm to Plaintiffs.




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                           NINTH CAUSE OF ACTION
            (Violation of Florida’s Religious Freedom Restoration Act,
                               Florida Stat. §761.03)
                              (Against all Defendants)

       176. Plaintiffs incorporate all of the preceding allegations by reference as if

set forth in full.

       177. Florida’s Religious Freedom Restoration Act (“RFRA”), Fla. Stat. §

761.03 (1), provides:

       The government shall not substantially burden a person's exercise of
       religion, even if the burden results from a rule of general applicability,
       except that government may substantially burden a person's exercise of
       religion only if it demonstrates that application of the burden to the
       person:
       (a) Is in furtherance of a compelling governmental interest; and
       (b) Is the least restrictive means of furthering that compelling
       governmental interest.

       178. Plaintiffs have sincerely held religious beliefs that human beings are

created male or female and that the natural created order regarding human sexuality

cannot be changed regardless of individual feelings, beliefs, or discomfort with one’s

identity, and biological reality, as either male or female.

       179. Plaintiffs have sincerely held religious beliefs that all people are to be

treated with respect and compassion, but that respect and compassion do not include

misrepresenting an individual’s natural created identity, and biological reality, as

either a male or a female.




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       180. Plaintiffs have sincerely held religious beliefs that individuals are to

speak the truth, including speaking the truth regarding matters of sexual identity as

a male and female.

       181. Defendants’ actions in excluding Mr. and Mrs. Perez from decision

making regarding their daughter because of their Catholic Christian faith, target the

Plaintiffs’ beliefs regarding human nature, the created order, gender, sexuality,

ethics, and morality which constitute central components of their sincerely held

religious beliefs.

       182. Defendants were aware of the family’s sincerely held religious beliefs

and that such beliefs would conflict with untruthfully calling A.P. a male named “M”

and using male pronouns. Defendants deliberately and recklessly used that

knowledge to disparage the family’s sincerely held religious beliefs to the detriment

of A.P.’s mental health and in derogation of Plaintiffs’ fundamental rights.

       183. Defendants’ actions have caused a direct and immediate conflict with

Plaintiffs’ religious beliefs by prohibiting them from being informed of the mental

health issues A.P. has been experiencing and seeking counseling and guidance for

A.P. in a manner that is consistent with the beliefs held by Mr. and Mrs. Perez and

A.P.

       184. Defendants’ actions have impermissibly burdened Plaintiffs’ sincerely

held religious beliefs by nurturing seeds of doubt and distrust in A.P.’s mind


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regarding the family’s beliefs and whether adherence to them is beneficial and

healthy. A.P. was being compelled to choose between her religious beliefs and the

idea that she was a boy named “M,” a conflict so significant that it led to her being

suicidal.

       185. Defendants’ actions expressly constitute a substantial burden on

sincerely held religious beliefs that are contrary to Defendants’ viewpoint regarding

gender identity and affirmation of a discordant gender identity.

       186. No compelling state interest justifies the burdens Defendants imposed

upon Plaintiffs’ rights to the free exercise of religion.

       187. Defendants’ actions are not the least restrictive means to accomplish

any permissible government purpose Defendants seek to serve.

       188. Defendants’ violation of Plaintiffs’ rights under Florida’s RFRA has

caused, is causing, and will continue to cause Plaintiffs to suffer undue and actual

hardships. Said hardships include exacerbation of A.P.’s mental health concerns to

the point of her attempting suicide and now having to seek therapeutic intervention

to address the long-term effects of Defendants’ actions, diminution of the parent-

child relationship, invasion of familial privacy, and physical and emotional injuries

to all Plaintiffs.




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                           TENTH CAUSE OF ACTION
(Violation of Plaintiffs’ Right to Choose Medical Treatment for their Children
                         Under Florida Statutes § 743.07)
                               (Against all Defendants)
       189. Plaintiffs incorporate the preceding allegations by reference as if set

forth in full.

       190. Under Fla. Stat. § 743.07 parents are responsible for selecting the

manner of medical/mental health treatment received by their children until the

children reach age 18. That fundamental right cannot be diminished or eliminated

by state, city, or, in this case, school board actors without a compelling state interest.

Vazzo v. City of Tampa, 415 F.Supp.3d 1087, 1098 (M.D. Fla. 2019).

       191. By excluding Mr. and Mrs. Perez from discussions regarding their

daughter’s mental health concerns, including assertion of a discordant gender

identity and other issues that rose to the level of attempting suicide, Defendants are

making, and have made, decisions that affect the mental health of their child in

contravention of Plaintiffs’ fundamental rights.

       192. Defendants have usurped Plaintiffs’ responsibility for the health and

well-being of their children and supplanted their authority for Plaintiffs’ authority

as fit parents to be the ultimate decision makers regarding the physical and mental

health of their child, including decisions related to their child’s confusion or distress

about her sex or gender identity.


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      193. Affirming a child’s discordant gender identity involves significant

mental health and medical decisions affecting the well-being of children with

potentially life-long consequences. Therefore, by excluding parents from

discussions regarding their child’s assertion of a discordant gender identity,

Defendants are making decisions that affect the mental health of their child in

contravention of Plaintiffs’ rights under Fla. Stat. § 743.07.

      194. Plaintiffs’ right to direct the medical and mental health decision-

making for their children was violated as the plainly obvious consequence of

Defendants’ actions in surreptitiously meeting with A.P. to discuss and address

mental health issues including gender identity questions, withholding information

from Mr. and Mrs. Perez and disparaging the family’s religious beliefs.

      195. Defendants cannot assert a compelling interest for disregarding

Plaintiffs’ long-established right to make medical and mental health decisions for

their children, and Defendants’ explicit prohibition against parental notification is

not narrowly tailored.

      196. Defendants’ violation of Plaintiffs’ fundamental rights has caused and

continues to cause Plaintiffs undue hardship and irreparable harm.

      197. Plaintiffs have no adequate remedy at law to correct the continuing

deprivation of their fundamental rights.




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                  ELEVENTH CAUSE OF ACTION
         INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS

       198. Plaintiffs incorporate the preceding allegations by reference as if set

forth in full.

       199. Defendants engaged in extreme and outrageous conduct toward

Plaintiffs in flagrantly disregarding Mr. and Mrs. Perez’s rights to direct the

education, upbringing, religious training, and medical and mental health decision

making for their 12-year-old daughter as long memorialized by the United States

and Florida constitutions and in the Parents’ Bill of Rights which became effective

July 1, 2021 prior to Defendants’ conduct.

       200. Defendants knew or should have known that under the federal and state

constitutions and specifically under the Parents’ Bill of Rights they were prohibited

from engaging in mental health treatment with A.P. without notifying and obtaining

the consent of her parents, Mr. and Mrs. Perez. Defendants’ own published

documents, Understanding Confidentiality, and consent forms on their website state

that children do not have rights of confidentiality from their parents and that parents

must be provided with critical information related to their child’s mental health.

       201. Nevertheless, in flagrant disregard of their published documents and of

long-standing constitutional and statutory rights, Defendants intentionally and

recklessly met secretly with A.P. regarding mental health issues that escalated to the

point of attempted suicide with no notification to Mr. and Mrs. Perez.
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      202. Defendants further engaged in extreme and outrageous conduct toward

Plaintiffs in flagrantly disregarding Plaintiffs’ inalienable rights to free exercise of

religion as stated in the United States and Florida constitutions and Florida’s RFRA

by affirming the message to A.P. that her parents would not support and care for her

because the family’s sincerely held religious beliefs would not permit them to falsely

affirm that she is a male named “M” using male pronouns.

      203. Defendants knew or should have known that under the federal and state

constitutions and Florida’s RFRA that Plaintiffs have the inalienable right to free

exercise of their sincerely held religious beliefs without obstruction and interference

from the state.

      204. Nevertheless, in flagrant disregard for Plaintiffs’ inalienable rights,

Defendants implied that A.P.’s family’s religious beliefs were antithetical to her

well-being.

      205. Defendants further engaged in extreme and outrageous conduct toward

Plaintiffs by failing to even notify Mr. and Mrs. Perez that their daughter was

receiving counseling for mental health issues that had escalated to the point of A.P.

attempting suicide and then upon announcing that A.P. had attempted suicide

communicating to Mr. and Mrs. Perez that it was because of their sincerely held

religious beliefs against affirming a false male identity for A.P. that A.P. attempted

suicide.


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      206. In communicating the message to A.P. that her family’s religious

beliefs were antithetical to her well-being and the message to Mr. and Mrs. Perez

that their religious beliefs were the cause of A.P.’s attempted suicide, Defendants

acted with the intent to cause or with reckless disregard to the probability that they

would cause Plaintiffs emotional distress.

      207. Plaintiffs suffered severe emotional distress as the result of Defendants’

conduct in that A.P. was so distressed that she attempted suicide and Mr. and Mrs.

Perez suffered severe emotional distress, shock, and outrage at being informed that

their daughter attempted suicide after participating in clandestine meetings with

school staff during which staff a) promoted and affirmed the idea that A.P. could be

a boy named “M,” b) breached A.P.’s privacy by telling her peers, whom A.P. had

not confided in, that A.P. was a boy named “M,” lending to humiliation, increased

bullying and depression, c) affirming that A.P.’s parents could not be trusted to

appropriately respond to her desire to be treated as a boy named “M” because of the

family’s religious beliefs, and so would not be told.

      208. Mr. and Mrs. Perez further suffered severe emotional distress, shock,

and outrage at being told by Defendants that their daughter’s suicide attempt was

due to their inability to accept her as a boy because of their religious beliefs and

being falsely told that they had no right to receive information regarding their




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daughter’s gender identity issue because their 12-year-old daughter had the right to

confidentiality that trumped her parents’ rights.

       209. Meeting with a 12-year-old child without informing her parents as

required by law, continuing to meet with her without her parents’ consent as her

mental health deteriorated to the point of being suicidal, communicating the message

that her distress will not be properly addressed by her parents because of their

religious beliefs, and then telling the parents that their daughter attempted suicide

because of their non-“affirming” religious beliefs, are so extreme in degree and

outrageous in character as to be beyond any definition of professional ethics and all

possible bounds of decency in a civilized society. Educators to whom the parents

entrusted their child to receive knowledge and enrichment instead provided harmful

indoctrination which nearly ended their child’s life and created permanent

psychological and emotional harm to the child and to the family.

       210. As a result of Defendants’ extreme and outrageous conduct, Plaintiffs

have suffered and are suffering physical, psychological and emotional harm,

including shock, loss of sleep, loss of familial security, diminution in the parent-

child relationship and other harms.

                   TWELFTH CAUSE OF ACTION
           NEGLIGENT INFLICTION OF EMOTIONAL DISTRESS

       211. Plaintiffs incorporate the preceding allegations by reference as if set

forth in full.
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      212. Defendants intentionally and recklessly engaged in surreptitious

meetings with a vulnerable 12-year-old girl with mental health concerns on a weekly

basis over a course of many months without following established protocols and

legal requirements that parents be notified and consent prior to their child engaging

in mental health counseling. In so doing, Defendants endangered the health and well-

being of A.P. who became increasingly distressed as the counseling progressed and

was denied the care, comfort, and guidance of her parents.

      213. Defendants further jeopardized the mental and emotional health of A.P.

by affirming a message that her family’s sincerely held religious beliefs meant that

her parents, with whom Defendants had not communicated, would not respond

appropriately to help her regain she believed she needed to regain mental and

emotional health.

      214. As a result of Defendants’ intentional acts to deprive Plaintiffs of

familial privacy, decision making and free exercise of religion, Plaintiffs have

suffered physical injuries resulting from shock, outrage and despair at the near loss

of their daughter to suicide. Mr. and Mrs. Perez endured descriptions of their

daughter/s attempted suicide and observed their daughter being detained by police

and placed in a police car for transport to and confinement in a mental health facility

without the care and companionship of her parents. Mr. and Mrs. Perez further

endured the fear, anxiety and uncertainty of having their child committed to and


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confined in a mental health facility within hours of them being first informed that

A.P. had any issues related to her mental health. A.P. suffered from the fear, anxiety,

fright and shock of being detained by police, placed in a police car and sent alone to

a mental health facility.

      215. As a result of Defendants’ actions and observation of the harm done to

A.P. as a result of Defendants’ actions. The Plaintiffs have suffered and are

continuing to suffer emotional distress, physical injuries and psychological harm.


                             PRAYER FOR RELIEF

      WHEREFORE, Plaintiffs request the following relief:

      1. A declaration that Defendants have violated Plaintiffs’ fundamental rights

as parents, under the United States and Florida constitutions, the Florida Parents’

Bill of Rights and other statutes to the extent that they: a) provided mental health

counseling and advice on asserting a discordant identity to A.P. weekly for several

months without informing Mr. and Mrs. Perez; b) violated Plaintiffs’ right to privacy

in divulging to A.P.’s friends that she was to be identified as a boy named “M”

thereby leading to increased bullying, humiliation and depression c) affirming to

A.P. that her parents should not be told about her struggle with gender identity

because they would not accept her because of their religious beliefs; d) failed and

refused to comply with parental notification requirements before meeting with A.P.



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and continuing to meet without complying with the law; e) blaming Mr. and Mrs.

Perez and their religious beliefs for leading A.P. to attempt suicide.

      3.     A permanent injunction prohibiting Defendants, their employees,

agents and third parties acting at their direction from: Training staff to exclude

parents from discussions, meetings, and other interventions with the parents’

children related to the children’s assertion of a discordant gender identity; Failing to

notify parents when their children express the belief that they have a discordant

gender identity and want to take actions to affirm that identify.

      4.     A permanent injunction prohibiting Defendants, their employees,

agents and third parties acting at their direction from instructing, directing, or

encouraging staff to participate in programs, initiatives, activities, or discussions in

which staff promise children that their parents will not be told about children’s

disclosures related to a belief that they have a discordant gender identity.

      5.     For nominal damages;

      6.     For compensatory damages according to proof for the injuries caused

by Defendants’ acts and omissions, including a) emotional distress, b) ongoing

emotional and psychological damage to A.P. requiring therapeutic interventions to

rebuild the trust between her and her parents which was damaged by the actions of

Defendants, c) ongoing emotional and psychological damage to the family dynamic,




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requiring therapeutic interventions to rebuild trust between parents and child which

was damaged by the actions of Defendants, and other injuries as proven at trial;

      7.    For attorneys’ fees and costs under 42 U.S.C. § 1988;

      8.    For such other relief as the Court deems proper.


      Dated: January 24, 2022.



                                      /s/Mary E. McAlister
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